       Case 3:18-cv-00736-JWD-EWD             Document 85   08/26/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA


BRIAN MCNEAL, ET AL.
                                                        CIVIL ACTION
VERSUS
                                                        NO. 18-736-JWD-EWD
LOUISIANA DEPARTMENT OF
PUBLIC SAFETY & CORRECTIONS
                                           ORDER

       Because of a scheduling conflict;

       IT IS ORDERED that the three-day jury trial assigned for November 2, 2020, is

continued and reassigned for Monday, June 28, 2021, at 9:00 a.m. in courtroom 1. The

Court also resets the status conference on 11/2/2020 to 6/28/2021 at 8:30 a.m. in

courtroom 1 to address any pretrial matters.       The pretrial conference scheduled for

9/3/2020 is also reassigned for 3:00 p.m. on Thursday, April 15, 2021. Accordingly, the

following related deadlines are also reset:


              1. Proposed voir dire, joint jury charges, and joint verdict forms shall be
                 submitted to the Court twenty-one (21) days prior to trial;

              2. Final Will Call Witness lists and Trial Exhibit lists shall be filed
                 twenty-one (21) days prior to trial;

              3. If necessary, the deadline to file an amended pre-trial order is March 31,
                 2021;

              4. A bench book of exhibits, from each party, shall be submitted to the Court
                 seven (7) days prior to trial.

              5. In addition to a bench book, electronic evidence files shall be provided,
                 by each party, using the Court’s Electronic Evidence Online submission
                 tool through CM/ECF to the Courtroom Deputy for court proceedings
                 where evidence presentation is required, seven (7) days prior to trial.
                 These files will be utilized BY THE COURT ONLY and will not be provided
                 to an opposing party. The electronic evidence files should be provided


Jury
Case 3:18-cv-00736-JWD-EWD          Document 85     08/26/20 Page 2 of 2




          using the specific format outlined on this Court’s web page under "JWD
          Cases, JERS Notice for Trials" or by using the following link to the JERS
          web page: http://www.lamd.uscourts.gov/JERS.

      6. An Affidavit of Settlement Efforts shall be filed twenty-one (21) days
         prior to trial. The Affidavit shall conform to the Instructions for
         Preparing Final Affidavit of Settlement Efforts for Civil Trials before
         Judge John W. deGravelles, located on the Court's website.

Signed in Baton Rouge, Louisiana, on August 26, 2020.


                                       S
                             JUDGE JOHN W. deGRAVELLES
                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA
